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 7                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                IN AND FOR COUNTY OF KING
 8

 9
        TROY CLEVELAND,an individual,                    No.
10
                                       Plaintiff,
11                                                      COMPLAINT
        VS.
12

.13     SAFEWAY INC,a foreign corporation,

14                                     Defendant.

15
               COMES NOW Plaintiff Troy Cleveland, by and through her attorneys at Khan Law
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17 Firm PLLC, and brings this Complaint against the named Defendant, Albertson's LLC dba

18    Safeway Inc., and alleges as follows:

19                                            I.    PARTIES
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               1.1   At all times relevant hereto, Plaintiff Troy Cleveland was a resident of King
21
      County, Washington.
22
               1.2   At all times relevant hereto, Defendant, Safeway Inc, upon information is a
23
      foreign corporation authorized to do business in the State of Washington and doing business as
24

25    Safeway, 1207 South 320th in Federal Way, Washington.

      COMPLAINT l of4                                                 KHAN LAW FIRM PLLC
                                                                      8407 S. 259th Street Ste. 101
                                                                           Kent, WA 98030
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                                  II.        JURISDICTION AND VENUE
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             2.1     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if
 3
     fully restated herein.
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             2.2     The Court has Jurisdiction over the parties as the alleged accident occurred in
 5

 6 King County Washington.

 7           2.3     , Venue in this matter is proper for this court, as all the causes of action have

 8   occurred in King County, Washington.
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                                                III.   FACTS
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             3.1     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if
11
     fully restated. herein.
12

13           3.2     On or about July 30, 2021, Plaintiff Troy Cleveland was a business invitee of

14 Defendant Safeway Inc, facility located at 1207 South 320th in Federal Way, Washington.

15           3.3     Plaintiff was walking down an aisle within the store when Plaintiff slipped on
16   debris on the floor and fell injuring himself. Defendant failed to take adequate steps to warn of
17
     a dangerous and unsafe condition or take reasonable precautions to ensure dangerous debris
18
     was removed from the floor.
19
             3.4     The aisle was hazardous as there was debris which created an unsafe area when
20

21   stepped upon.

22           3.5 . As a result of Defendant's negligent act of by failing to properly maintain the

23   aisles of their store to make sure there were not areas of debris and properly warn of such a
24
     hazard, plaintiff sustained injuries.
25

     COMPLAINT 2 df.4                                                  KHAN LAW FIRM PLLC
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             3.6     As a direct result of defendant's negligent act, plaintiff incurred significant
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 2 medical treatments and medical expenses in an amount to be proven at trial.

 3           3.7    On or about August 24, 2015, Defendant Safeway's negligence was the

 4   proximate cause ofthe incident which is the subject of this complaint.
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             3.8    As a result of the defendant's negligence the plaintiff suffered and continues to
 6
     suffer bodily injuries, physical disability and pain, emotional trauma, medical expenses, loss of
 7
     earnings and earning capacity, and other damages as a result ofthe incident.
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                                  IV.     FIRST CAUSE OF ACTION
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10          4.1     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if

11   fully restated herein.
12          4.2:    Defendant had a duty to maintain safe walking areas in their stores so that they
13
     are free from debris and wet and slick surfaces.
14
            4.3     The defendants knew or should have known that the aisle was an area of high
15
     traffic giving rise to a duty on the part of defendants to keep the area safe and not hazardous.
16

17                                            V.     DAMAGES

18          5.1     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as if

19 fully restated herein.

20
            5.2     As a proximate result of the negligence of Defendant, Plaintiff Troy Cleveland
21
     suffered severe personal injuries in such amount as shall be proven at the time of trial.
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                                        VI.        RELIEF SOUGHT
23
             WHEREFORE,Plaintiff respectfully request the following relief:
24

25           1.     For general damages for pain and suffering, mental distress, and emotional

     COMPLAINT 3 of4                                                    KHAN LAW FIRM PLLC
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      anxiety, past, present, and future;
 I

 2           2.      For special damages including all medical expenses incurred by Plaintiff in

 3    treatment for injuries resulting from the collision accident as well as future medical expenses

 4 and other items of special damages;

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             3.      For special damage of the loss of income to Plaintiff and reduction in earning
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      capacity, past, present, and future;
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             4.      For pre-judgment interest at the statutory rate on all items of special damages
 8
      including, without limitation, expenses of medical care and treatment;
 9

10           5.      For an award of attorney's fees and costs incurred herein;

11           6.      For such other and further relief as the Court may deem just and equitable.

12            DATED this 4th day of August, 2022.
13
                                                      KHAN LAW FIRM PLLC
14
                                                     ISI Christopher A. Morales
15
                                                     Christopher A. Morales, WSBA # 41364
16                                                   Attorney for Plaintiff

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      COMPLAINT 4 of4                                                  KHAN LAW FIRM PLLC
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